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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                   v.
                                                   Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                   Defendant.


                                        STATUS REPORT

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully submits this status report pursuant to the Court’s Order of July 18, 2018, to “return to

defendant any paper documents and electronic devices that [the government] has determined are

irrelevant to the case by August 17, 2018.” Doc. 355. As described in the attached letter to defense

counsel, the government is prepared to return all original paper and physical devices, which are

available for pick up at the Special Counsel’s Office.




                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER, III
                                                      Special Counsel

Dated: August 9, 2018                 By:             /s/ Andrew Weissmann
                                                      Andrew Weissmann
                                                      U.S. Department of Justice
                                                      Special Counsel’s Office
                                                      950 Pennsylvania Avenue NW
                                                      Washington, DC 20530
                                                      Telephone: (202) 616-0800

                                                      Attorney for the United States of America
